              Case 20-16742-JKS                          Doc 10            Filed 06/08/20 Entered 06/08/20 15:49:35                                               Desc Main
                                                                          Document      Page 1 of 16
 Fill in this information to identify your case:

 Debtor 1                   Woosik Min
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number           20-16742
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             877,500.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             158,510.24

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,036,010.24

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          2,540,048.77

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             642,216.11


                                                                                                                                     Your total liabilities $             3,182,264.88


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                  901.33

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,857.01

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
           Case 20-16742-JKS                         Doc 10           Filed 06/08/20 Entered 06/08/20 15:49:35                      Desc Main
                                                                     Document      Page 2 of 16
 Debtor 1      Woosik Min                                                                 Case number (if known) 20-16742

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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              Case 20-16742-JKS                      Doc 10           Filed 06/08/20 Entered 06/08/20 15:49:35                             Desc Main
                                                                     Document      Page 3 of 16
 Fill in this information to identify your case:

 Debtor 1                Woosik Min
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           20-16742
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      136 Stephens Lane Mahwah, NJ                                   $382,500.00                               $25,150.00      11 U.S.C. § 522(d)(1)
      07430 Bergen County
      $850,000 appraisal value - 10% cost                                                  100% of fair market value, up to
      of sale = $765,000                                                                   any applicable statutory limit
      Line from Schedule A/B: 1.1

      136 Stephens Lane Mahwah, NJ                                   $382,500.00                               $54,075.62      11 U.S.C. § 522(b)(3)(B)
      07430 Bergen County
      $850,000 appraisal value - 10% cost                                                  100% of fair market value, up to
      of sale = $765,000                                                                   any applicable statutory limit
      Line from Schedule A/B: 1.1

      2017 Landrover Evoque 36000 miles                                Unknown                                   $2,000.00     11 U.S.C. § 522(d)(2)
      leasehold interest only
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2018 BMW X3 24000 miles                                          Unknown                                   $2,000.00     11 U.S.C. § 522(d)(2)
      leasehold interest only
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household golds and furnishings,                                 $4,700.00                                 $4,700.00     11 U.S.C. § 522(d)(3)
      tools, sports equipment, paintings
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Woosik Min                                                                                  Case number (if known)     20-16742
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Electronics                                                         $150.00                                   $150.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                            $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: PNC Bank                                                  $318.49                                   $318.49        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Woori America Bank                                        $181.72                                   $181.72        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: TD Bank                                                    $79.79                                    $79.79        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Woori Bank Korea                                      $67,720.00                                    $745.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: IRA                                                        $82,048.91                                $82,048.91         11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                                     Document      Page 5 of 16
 Fill in this information to identify your case:

 Debtor 1                   Woosik Min
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           20-16742
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     GG Corp                                  Describe the property that secures the claim:               $520,000.00            $1,500,000.00            $20,000.00
         Creditor's Name                          6-5 Iwahdong Jongro Seoul KOREA
                                                  1/3 interest in inherited property
                                                  owned with 2 sisters 1/3 each
                                                  Debtor's gross interest = $500,000
                                                  before cost of sale
                                                  software only allows whole
                                                  percentage ownership and is
         Jangchoongdanro 192                      rounding 33.3% down to 33%
                                                  As of the date you file, the claim is: Check all that
         Seoul                                    apply.
         KOREA                                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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                                                                        Document      Page 6 of 16
 Debtor 1 Woosik Min                                                                                          Case number (if known)   20-16742
               First Name                  Middle Name                      Last Name


 2.2     Heesik Min                                 Describe the property that secures the claim:                   $500,000.00        $1,500,000.00             $0.00
         Creditor's Name                            6-5 Iwahdong Jongro Seoul KOREA
                                                    1/3 interest in inherited property
                                                    owned with 2 sisters 1/3 each
                                                    Debtor's gross interest = $500,000
                                                    before cost of sale
         Kukje Kumyungro,                           software only allows whole
         Yeongdengpogu                              percentage ownership and is
         Hanyang Apt H-501                          rounding 33.3% down to 33%
                                                    As of the date you file, the claim is: Check all that
         Seoul                                      apply.
         KOREA                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Division of Inheritance - Coowner
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     M&T Bank                                   Describe the property that secures the claim:                   $581,590.00         $765,000.00              $0.00
         Creditor's Name                            136 Stephens Lane Mahwah, NJ
                                                    07430 Bergen County
                                                    $850,000 appraisal value - 10% cost
                                                    of sale = $765,000
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 1288                              apply.
         Buffalo, NY 14240-1288                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 4
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                                                                        Document      Page 7 of 16
 Debtor 1 Woosik Min                                                                                          Case number (if known)   20-16742
               First Name                  Middle Name                      Last Name


 2.4     PNC Bank                                   Describe the property that secures the claim:                    $75,258.77         $765,000.00              $0.00
         Creditor's Name                            136 Stephens Lane Mahwah, NJ
                                                    07430 Bergen County
                                                    $850,000 appraisal value - 10% cost
                                                    of sale = $765,000
                                                    As of the date you file, the claim is: Check all that
         PO Box 96065                               apply.
         Pittsburgh, PA 15226                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   line of credit taken out by debtor's wife
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Taepyungyang Industry
 2.5                                                                                                                $363,200.00        $1,500,000.00    $363,200.00
         Co (Pan-Pacific)                           Describe the property that secures the claim:
         Creditor's Name                            6-5 Iwahdong Jongro Seoul KOREA
                                                    1/3 interest in inherited property
                                                    owned with 2 sisters 1/3 each
                                                    Debtor's gross interest = $500,000
                                                    before cost of sale
                                                    software only allows whole
         12 Digital Ro 31 Gil                       percentage ownership and is
         Guro                                       rounding 33.3% down to 33%
                                                    As of the date you file, the claim is: Check all that
         Seoul                                      apply.
         KOREA                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 4
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 Debtor 1 Woosik Min                                                                                          Case number (if known)   20-16742
               First Name                  Middle Name                      Last Name


 2.6     Yeon Sik Min                               Describe the property that secures the claim:                   $500,000.00        $1,500,000.00             $0.00
         Creditor's Name                            6-5 Iwahdong Jongro Seoul KOREA
                                                    1/3 interest in inherited property
                                                    owned with 2 sisters 1/3 each
                                                    Debtor's gross interest = $500,000
                                                    before cost of sale
                                                    software only allows whole
         Samgakdong Gambuk                          percentage ownership and is
         Tribela Apt 203-1301                       rounding 33.3% down to 33%
                                                    As of the date you file, the claim is: Check all that
         Seoul                                      apply.
         KOREA                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Division of Inheritance - coowner
       community debt

 Date debt was incurred          2010                        Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $2,540,048.77
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $2,540,048.77

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                    Woosik Min
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number              20-16742
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Woosik Min                                                            X
              Woosik Min                                                                Signature of Debtor 2
              Signature of Debtor 1

              Date       June 8, 2020                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Woosik Min
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           20-16742
 (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         GG Corp                                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 6-5 Iwahdong Jongro Seoul                                Reaffirmation Agreement.
    property       KOREA                                                    Retain the property and [explain]:
    securing debt: 1/3 interest in inherited property
                   owned with 2 sisters 1/3 each
                   Debtor's gross interest =
                   $500,000 before cost of sale
                   software only allows whole
                   percentage ownership and is
                   rounding 33.3% down to 33%                              Retain and pay



    Creditor's         Heesik Min                                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       6-5 Iwahdong Jongro Seoul                          Reaffirmation Agreement.
                         KOREA
                         1/3 interest in inherited property
                         owned with 2 sisters 1/3 each
                         Debtor's gross interest =
                         $500,000 before cost of sale

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Woosik Min                                                                             Case number (if known)    20-16742

    property            software only allows whole                          Retain the property and [explain]:
    securing debt:      percentage ownership and is
                        rounding 33.3% down to 33%                         Retain and pay



    Creditor's     M&T Bank                                                 Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of 136 Stephens Lane Mahwah, NJ                             Reaffirmation Agreement.
    property       07430 Bergen County                                      Retain the property and [explain]:
    securing debt: $850,000 appraisal value - 10%
                   cost of sale = $765,000                                 Retain and pay



    Creditor's     PNC Bank                                                 Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of 136 Stephens Lane Mahwah, NJ                             Reaffirmation Agreement.
    property       07430 Bergen County                                      Retain the property and [explain]:
    securing debt: $850,000 appraisal value - 10%
                   cost of sale = $765,000                                 Retain and pay



    Creditor's     Taepyungyang Industry Co                                 Surrender the property.                                   No
    name:          (Pan-Pacific)                                            Retain the property and redeem it.
                                                                                                                                      Yes
                                                                            Retain the property and enter into a
    Description of 6-5 Iwahdong Jongro Seoul                                Reaffirmation Agreement.
    property       KOREA                                                    Retain the property and [explain]:
    securing debt: 1/3 interest in inherited property
                   owned with 2 sisters 1/3 each
                   Debtor's gross interest =
                   $500,000 before cost of sale
                   software only allows whole
                   percentage ownership and is
                   rounding 33.3% down to 33%                              Retain and pay



    Creditor's     Yeon Sik Min                                             Surrender the property.                                   No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                      Yes
    Description of 6-5 Iwahdong Jongro Seoul                                Reaffirmation Agreement.
    property       KOREA                                                    Retain the property and [explain]:
    securing debt: 1/3 interest in inherited property
                   owned with 2 sisters 1/3 each
                   Debtor's gross interest =
                   $500,000 before cost of sale
                   software only allows whole
                   percentage ownership and is
                   rounding 33.3% down to 33%                              Retain and pay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               BMW Financial Services

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Woosik Min                                                                            Case number (if known)   20-16742

                                                                                                                               No

                                                                                                                               Yes
 Description of leased        Vehicle lease
 Property:



 Lessor's name:               Land Rover Financial Group                                                                       No

                                                                                                                               Yes

 Description of leased        vehicle lease
 Property:

 Lessor's name:               Verizon Wireless                                                                                 No

                                                                                                                               Yes

 Description of leased        month to month cell phone
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Woosik Min                                                               X
       Woosik Min                                                                       Signature of Debtor 2
       Signature of Debtor 1

       Date        June 8, 2020                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Woosik Min                                                                             Case No.   20-16742
                                                                                    Debtor(s)      Chapter    7




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: June 8, 2020                                                      /s/ Woosik Min
                                                                         Woosik Min
                                                                         Signature of Debtor




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                         250 W. 39th Street Inc.
                         250 W. 39th St
                         New York, NY 10018


                         Bank of Hope
                         c/o Saiber LLC
                         18 Columbia Turnpike
                         Suite 200
                         Florham Park, NJ 07932


                         BMW Financial Services
                         PO Box 9001065
                         Louisville, KY 40290-1065


                         Clerk, Civil Part
                         Superior Court of NJ
                         10 Main St
                         Hackensack, NJ 07601


                         Fisher Taubenfield, LLC
                         225 Broadway
                         Suite 1700
                         New York, NY 10007


                         GG Corp
                         Jangchoongdanro 192
                         Seoul
                         KOREA


                         Heesik Min
                         Kukje Kumyungro, Yeongdengpogu
                         Hanyang Apt H-501
                         Seoul
                         KOREA


                         Internal Revenue Service (notice only)
                         Centralized Insolvency Operation
                         PO Box 7346
                         Philadelphia, PA 19101


                         Itriaventues LLC
                         462 7th Avenue
                         New York, NY 10018
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                     Land Rover Financial Group
                     PO Box 78058
                     Phoenix, AZ 85062-8058


                     M&T Bank
                     P.O. Box 1288
                     Buffalo, NY 14240-1288


                     NJ Division of Taxation (notice only)
                     Bankruptcy Section
                     PO Box 245
                     Trenton, NJ 08695-0245


                     PNC Bank
                     PO Box 96065
                     Pittsburgh, PA 15226


                     PT Kwang Lim Endah
                     JL Raya Pagaden Subang Gembor RT 18/06
                     Subang
                     INDONESIA


                     Robin Sprouse/RAS Sales Inc
                     15 Orchard Drive
                     Ossining, NY 10562


                     Taepyungyang Industry Co (Pan-Pacific)
                     12 Digital Ro 31 Gil
                     Guro
                     Seoul
                     KOREA


                     US Bank
                     PO Box 790408
                     Saint Louis, MO 63179


                     Verizon Wireless
                     500 Technology Drive
                     Suite 550
                     Saint Charles, MO 63304


                     Yeon Sik Min
                     Samgakdong Gambuk
                     Tribela Apt 203-1301
                     Seoul
                     KOREA
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                     Youngok Min
                     136 Stephens Lane
                     Mahwah, NJ 07430
